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                           UNITED STATES DISTRICT COURT

                                 DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA
                   Plaintiff,

       v.
                                                          Case No. 1:23-cr-00239
ILYA LICHTENSTEIN, and
HEATHER MORGAN                                            Judge Colleen Kollar-Kotelly
                     Defendants.



            CONSENT MOTION TO CONTINUE DEADLINES FOR DEFENSE TO FILE
                         SENTENCING MEMORANDA


       Defendants Heather Morgan and Ilya Lichtenstein, respectfully move, with consent of the

Government, for an order extending the deadlines by which each Defendant is to file their

respective Sentencing Memoranda by one week, thereby allowing Ms. Morgan to file hers on

October 30, 2024, and Mr. Lichtenstein to file his on November 5, 2024. This brief extension is

necessary to give the Defense adequate time to respond to the various arguments raised in the

Government’s Sentencing Memoranda. We note that the Defendants will be ready to proceed to

sentencing as presently scheduled, and respectfully request that these dates remain unchanged.
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Dated: October 21, 2024                  Respectfully submitted,

                                         /s/ Samson A. Enzer

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